
Memorandum.
The order should be modified, without costs, by reinstating the allowance of damage made at the Court of Claims, and, as so modified, affirmed. The power of the Superintendent of Public Works to impose a condition on a reservation of special access to a controlled access highway is reasonably to be implied from the power to make the reservation itself (Highway Law, § 30, subd. 1, par. [a], subd. 3; § 3&gt; subd. 2). Thus the conditional right reserved to this claimant, limited in kind and duration, could have been found, as the Court of Claims concluded, to have value. The decision of the Appellate Division on interest was right.
Chief Judge Fuld and Judges Burke, Scileppi, Bergan, Keating, Bkettel and Jasen concur.
Order modified, without costs, and matter remitted to the Court of Claims for further proceedings in accordance with the memorandum herein.
